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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20099-18-JWL


Julio Cesar Loya-Contreras,

                    Defendant.

                                 MEMORANDUM & ORDER

       This matter is before the court on Mr. Loya-Contreras’s pro se motion for reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Loya-Contreras asks the court to

reduce his sentence based on Amendment 782 to the United States Sentencing Guidelines which

took effect on November 1, 2014 and lowers the base offense levels in the Drug Quantity Table.

On July 18, 2014, the United States Sentencing Commission voted to apply the amendment

retroactively to those offenders currently in prison, but with a requirement that the reduced

sentences cannot take effect until November 1, 2015.

       The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office

of the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782. The record reflects that Mr. Loya-Contreras may

be entitled to have the Federal Public Defender represent him to determine in the first instance

whether Mr. Loya-Contreras qualifies for relief under the amendment.          In light of these

circumstances, the court believes that the most efficient way to resolve the issue raised by Mr.
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Loya-Contreras is to forward Mr. Loya-Contreras’s motion (along with a copy of this order) to

the Office of the Federal Public Defender for an initial determination of whether Mr. Loya-

Contreras qualifies for representation and is entitled to a reduction in his sentence in light of the

amendment.     In the meantime, the court will deny Mr. Loya-Contreras’s motion without

prejudice to refiling the motion on or after February 2, 2015 if the Office of the Public Defender

declines to seek relief for Mr. Loya-Contreras under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Loya-Contreras’s

motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 948) is denied without

prejudice to refiling on or after February 2, 2015.



       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Loya-Contreras’s pro se motion for reduction of sentence.



       IT IS SO ORDERED.



       Dated this 2nd day of December, 2014, at Kansas City, Kansas.



                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge



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